Filed 03/24/22                                                         Case 22-10472                                                                              Doc 1


                    armation to identify the case:                                                                        1!           FILED
       United States Bankruptcy Court for the:
                                                                                                                          C)          MAR 24 2022
                                                                                                                               UNITED STATES BANKRUPTCY COURT
                                 District of
                                                                                                                                EASTERN DISTRICT OF CALIFORNIA
       Case number (ikn0wn:          —     /M72                 Chapter                                                                U Check if this is an
                                                                                                                                           amended filing

                                                                                                                                3o.00
      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

      If more space Is needed, attach a separate sheet to this form On the top of any additional pages, write the debtor's name and the case
      number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



       i. Debtor's name                                          OF                            ½tpf3,,2q                  Mi
           All other names debtor used
           in the last 8 years
           Include any assumed names,
           trade names, and doing business
           as names



           Debtor's federal Employer
           Identification Number (ElN)
                                                            -L

           Debtor's address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                              of business

                                                  /5V3O   TVC
                                                      Street
                                                 Number                                                        Number      Sfrej         Yt
                                                   (OW(,h,//a                                                  P.O. Box


                                                 City
                                                                                Ck
                                                                                State        ZIP Code          City                        State       ZIP Code

                                                                                                               Location of principal assets, if different from
                                                                                                               principal place of business
                                                                           rc'
                                                 County
                                                                                                               Number      Street
                                                                                                                                So
                                                                                                               City                        State       ZIP Code



        s. Debtor's website (URL)




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      Debtor                                                                                   Case number
                   NWW


                                                Corporation (including Umited Uability Company (LLC) and Umited Uability Partnership (LLP))
           Type of debtor                     (I
                                                                                                                                                    -



                                              U Partnership (excluding LLP)
                                              U Other. Specify:____________________________________________________
                                              A. Check one:
           Describe debtor's business
                                              U Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                              U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              U Railroad (as defined in 11 U.S.C. § 101 (44))
                                              U Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                              U Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                              Upieanng Bank (as defined in 11 U.S.C. § 781(3))
                                                  1one of the above


                                                Check all that apply:

                                              U Tax-exempt entity (as described in 28 U.S.C. § 501)
                                              U Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 §80a-3)
                                              U Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                 NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes.



        a. Under which chapter of the         Check one:
           Bankruptcy Code is the
           debtor filing?                     U Chapter 7
                                              U Chapter 9
                                              JZk Chapter 11. Check all that apply:
                                                                                 y
           A debtor who is small business
           debtor must check the first n-                     U The debtor is a small business debtor as defined in 11 U.S.C. § 101(510), and its
           box. A debtor as defined in                           aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                 affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
           § 11 82(l) who elects to proceed                      recent balance sheet, statement of operations, cash-flow statement, and federal
           under subchapter V of chapter 11
           (whether or not the debtor is a                       income tax return or if any of these documents do not exist, follow the procedure in
            small business debtor) must                          11 U.S.C. § 1116(1)(B).
           check the second sub-box.                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1). its aggregate
                                                              I Vnoncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $7,500,000, and It chooses to proceed under Subchapter V of
                                                                 Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                 statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                 § 11 16(l RB).
                                                              U A plan is being filed with this petition.
                                                               U Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               U The debtor is required to file periodic reports (for example, 10K and IOQ) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               U The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                              U Chaoter 12




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     Debtor                                                                                         Case number (rruotn)_______________________________________
                     Name


      o. Were prior bankruptcy cases
         filed by or against the debtor
         within the last 8 years?             U Yes. District                                    When                      Case number
                                                                                                        MM!      DD!YYYY
             If more than 2 cases, attach a
                                                                                                 When                      Case number
             separate list.
                                                                                                        MM!      DDIYYYY


      io. Are any bankruptcy cases                No
          pending or being filed by a
          business partner or an                   as. Debtor                                                              Relationship
          affiliate of the debtor?                       District                                                          When
             Ust all cases. If more than 1,                                                                                               MM / DO IYYYY
             attach a separate list                      Case number, if known


       ii.   Why is the case filed in this    Check all that apply:
             district?                                                .     ..        .     .              .           .   .          .
                                                  Debtor has had its domicile, p inc pal place of business, or p inc pal assets in this district for 180 days
                                                                                    r       i                         r    i


                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                  district.

                                              U A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

       12. Does the debtor own or have        U No
          possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
          property or personal property
          that needs immediate
                                              )
                                                        Why does the property need immediate attention? (Check all that apply.)
          attention?
                                                        U     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                              What is the hazard?

                                                        U It needs to be physically secured or protected from the weather.
                                                             It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         I' attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                              assets or other options).

                                                              Other



                                                        Where Is the property?.
                                                                                        Number          Street



                                                                                        City                                              State ZIP Code


                                                        Is the property Insured?
                                                        UNo
                                                              Yes- insurance agency               on Ode lep/Cpt'n+?' ,4'iii
                                                                    Contact name            MC                         a
                                                                                        /           7&q
                                                                    Phone                                         -6997
                      Statistical and administrative information




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      Debtor                                                                                              'Case number
                     Nam



           Debtor's estimation of                  Check one:
           available funds                        U Funds will be available for distribution to unsecured creditors.
                                                  U After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                      1-49                            U 1,000-5,000                              U 25,001-50,000
           Estimated number of                     U'50-99                            U 5,001-10,000                             U 50,001-100,000
           creditors                               U 100-199                          U 10,001-25,000                            U More than 100,000
                                                   U 200-999

                                                   U $o450,000                        U $1,000,001-$10 million                   U $500,000,001-$1 billion
        is. Estimated assets                       U $50,001-$100,000                 U $10,000,001450 million                   U $1,000,000,001-$10 billion
                                                   13,100,0014500,000                 U $50.000,001-$100 million                 U $10,000.000,001-$50 billion
                                                      $500.001-$1 million             U $100,000,0014500 million                 U More than $50 billion

                                                   U $0450,000                        U $1,000,001-S1 million                       U $500,000,001-$I billion
           Estimated liabilities                                                      U $10,000,001-$50 million                     U $1,000,000.001-510 billion
                                                   U $50,001-$100,000
                                                   U $100,001-$500,000                U $50,000,001-$100 million                    U $10000,000,001-$50 billion
                                                      $500,001-si million             U $100,000,001-$500 million                   U More than $50 billion



                     Request for Relief, Declaration, and Signatures


        WARNING      -   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                         $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature of            The debtor requests relief in accordance with the chapter of title ii, United States Code, specified in this
               authorized representative of
                                                       petition
               debtor

                                                         I have been authorized to file this petition on behalf of the debtor.


                                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                                        correct.

                                                    I declare under penalty of perjury that the foregoing is true and correct.

                                                       Executed on
                                                                             I DD YYYY

                                                    ic                         44d
                                                       SImS        of authorized re   ntative of debtor              Printed name

                                                       Title




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     Debtor
                   Na                                                                Case number (ffom,)


      18.   Signature of attorney
                                    X
                                                                                                Date
                                        Signature of attorney for debtor




                                     Printed name

                                     Firm name

                                     Number          Street

                                     City
                                                                                                   State           ZIP Code

                                     Contact phone
                                                                                                   Email address



                                     Bar number
                                                                                                   State




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